Case 2:08-cr-00178-LRS   ECF No. 380   filed 12/04/09   PageID.1433 Page 1 of 6
Case 2:08-cr-00178-LRS   ECF No. 380   filed 12/04/09   PageID.1434 Page 2 of 6
Case 2:08-cr-00178-LRS   ECF No. 380   filed 12/04/09   PageID.1435 Page 3 of 6
Case 2:08-cr-00178-LRS   ECF No. 380   filed 12/04/09   PageID.1436 Page 4 of 6
Case 2:08-cr-00178-LRS   ECF No. 380   filed 12/04/09   PageID.1437 Page 5 of 6
Case 2:08-cr-00178-LRS   ECF No. 380   filed 12/04/09   PageID.1438 Page 6 of 6
